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     IT IS ORDERED as set forth below:



     Date: June 5, 2013
                                                       _____________________________________
                                                                   James R. Sacca
                                                             U.S. Bankruptcy Court Judge

    _______________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

IN RE:                                             )   CHAPTER 7
                                                   )
CATHRYN LAFAYETTE (AKA) PARKMAN,                   )   CASE NO. 12-64045-JRS
                                                   )
                                                   )
                                   Debtor.         )
 - - - - - - - - - - - - - - - - - - - - - - - - - )   - - - - - - - - - - - - - - - - - - - - - - -
OCWEN LOAN SERVICING, LLC AS                       )
SERVICER FOR GMAC MORTGAGE, LLC                    )
(SUCCESSOR BY MERGER TO GMAC                       )
MORTGAGE CORP.),                                   )
                                   Movant,         )   CONTESTED MATTER
vs.                                                )
CATHRYN LAFAYETTE (AKA) PARKMAN,                   )
Debtor,                                            )
M. DENISE DOTSON, Trustee,                         )
                                   Respondents.    )

                          ORDER MODIFYING AUTOMATIC STAY
              A hearing on the above-styled Motion for Relief from Automatic Stay filed April 3,
2013 by Ocwen Loan Servicing, LLC as servicer for GMAC Mortgage, LLC (successor by merger to
GMAC Mortgage Corp.), for itself and its successors or assigns came before this Court April 30,
2013. Relief is sought as to the real property now or formerly known as 440 Milton Drive, Covington,
Newton County, Georgia 30016 ("the Property"), as more particularly described on Exhibit "A"

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attached to the Motion for Relief from Automatic Stay. Present at the hearing were Elizabeth Childers,
attorney for Movant, and Cathryn Lafayette, pro se Debtor. The Chapter 7 Trustee did not appear in
opposition to the Motion. Movant alleges the Motion was properly served and the hearing noticed.
After considering the presentations made by the parties, for the reasons stated on the record, it is
hereby
               ORDERED that the Motion is GRANTED as follows: the automatic stay of 11 U.S.C.
§ 362, to the extent still in effect, is modified to allow Movant to proceed with its state law remedies
and to proceed to obtain possession of and foreclose or otherwise dispose of the Property, including
sending notices and statements that may be required by state law to be sent; or, in the alternative,
Movant at its option be permitted to contact the Debtor via telephone or written correspondence to
offer, provide or enter into any potential forbearance agreement, loan modification, refinance
agreement or other loan workout or loss mitigation agreement including a deed in lieu as allowed by
state law. Movant shall promptly remit to the Chapter 7 Trustee, M. Denise Dotson, all such proceeds
as exceed the lawful debt owed to Movant by Debtor. The 14 day Stay pursuant to Bankruptcy Rule
4001(a)(3) is waived.


                                           END OF ORDER


Prepared and Submitted by:

/s/ Elizabeth Childers
Elizabeth Childers
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                                    DISTRIBUTION LIST

Cathryn Lafayette
440 Milton Dr.
Covington, GA 30016

M. Denise Dotson
Chapter 7 Trustee
M. Denise Dotson, LLC
170 Mitchell Street
Atlanta, GA 30303

Elizabeth Childers
McCurdy & Candler, LLC
Six Piedmont Center, Suite 700
3525 Piedmont Road, NE
Atlanta, GA 30305




M&C File No.09-16878
